                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:24-cr-64
 v.                                             )
                                                )        Judge Travis R. McDonough
 CHRISTOPHER LAWRENCE                           )
                                                )        Magistrate Judge Christopher H. Steger
                                                )


                                             ORDER


         U.S. Magistrate Judge Christopher H. Steger filed a report and recommendation (Doc.

47) recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty plea

to Count One of the one count Indictment; (2) accept Defendant’s guilty plea to Count One of

the one count Indictment; (3) adjudicate Defendant guilty of failure to register under the Sex

Offender Registration and Notification Act ("SORNA") in violation of 18 U.S.C. § 2250(a); and

(4) order that Defendant remain in custody pending sentencing or further order of this Court.

         Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with Magistrate Judge Steger’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

      1. Defendant’s motion to withdraw his not guilty plea to Count One of the one count

         Indictment is GRANTED;

      2. Defendant’s plea of guilty to Count One of the one count Indictment is ACCEPTED;

      3. Defendant is hereby ADJUDGED guilty of failure to register under the Sex Offender

         Registration and Notification Act ("SORNA") in violation of 18 U.S.C. § 2250(a); and


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   4. Defendant SHALL REMAIN in custody pending further order of this Court or

      sentencing which is scheduled to take place on September 26, 2025, at 9:00 a.m., before

      the undersigned.

      SO ORDERED.

                                          /s/ Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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